
996 So.2d 240 (2008)
Thomas A. ROMERO, Appellant,
v.
STATE of Florida, Appellee.
No. 1D08-5217.
District Court of Appeal of Florida, First District.
December 3, 2008.
*241 Thomas A. Romero, pro se, Appellant.
Bill McCollum, Attorney General, Tallahassee, for Appellee.
PER CURIAM.
DISMISSED. Guidry v. State, 972 So.2d 1043 (Fla. 1st DCA 2008); Lewis v. State, 953 So.2d 658 (Fla. 1st DCA 2007).
BROWNING, C.J., WOLF and BENTON, JJ., concur.
